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13
14                          UNITED STATES DISTRICT COURT
15                        NORTHERN DISTRICT OF CALIFORNIA
16
17 BILLFLOAT INC. DBA SMARTBIZ                Case No. 3:20-cv-09325-EMC
   LOANS, a Delaware corporation,
18                                            PROOF OF SERVICE
                 Plaintiff,
19
          v.
20
   COLLINS CASH INC. dba SMART                The Hon. Edward M. Chen
21 BUSINESS FUNDING, a New York
   corporation, and ABRAHAM COHEN, an
22 individual,
23               Defendants.
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                                            -1-             Case No. 3:20-cv-09325-EMC
                                                                  PROOF OF SERVICE
 1                                    PROOF OF SERVICE
 2                  STATE OF CALIFORNIA, COUNTY OF SAN DIEGO
 3        At the time of service, I was over 18 years of age and not a party to this action. I
 4 am employed in the County of San Diego, State of California. My business address is
 5 12275 El Camino Real, Suite 100, San Diego, CA 92130-4092.
 6       On October 11, 2022, I served true copies of the following document(s) described

 7 as:
 8 JOINT STATEMENT OF EACH PARTY’S OBJECTIONS TO EXHIBITS FOR
 9 ADVANCE RULING AND AMENDED JOINT EXHIBIT LIST and;
10
     AMENDED JOINT TRIAL EXHIBIT LIST
11
12        on the interested parties in this action as follows:

13
                                         SERVICE LIST
14 Joseph A. Mandour                                  Attorneys for Defendant
   Gordon  E.
15 Ben T. LilaGray

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24
25       BY CM/ECF NOTICE OF ELECTRONIC FILING: I electronically filed the
          document(s) with the Clerk of the Court by using the CM/ECF system.
26        Participants in the case who are registered CM/ECF users will be served by the
          CM/ECF system. Participants in the case who are not registered CM/ECF users
27        will be served by mail or by other means permitted by the court rules.

28

                                                     -2-              Case No. 3:20-cv-09325-EMC
                                                                            PROOF OF SERVICE
 1         I declare under penalty of perjury under the laws of the State of California that the
 2 foregoing is true and correct.
 3         Executed on October 11, 2022, at San Diego, California.

 4
 5                                                         /s/ Corey J. Russ
                                                            Corey J. Russ
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                                                     -3-                  Case No. 3:20-cv-09325-EMC
                                                                                PROOF OF SERVICE
